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AO 245B (Rev. 6/05 - Judgment in a Criminal Case



                                           United States District Court
                                               Northern District of California


          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.
                BRIAN MURPHY                                             USDC Case Number: CR-11-00029-001
                                                                                                        DLJ
                                                                         BOP Case Number: DCAN511CR000029-001
                                                                         USM Number:      15565-111
                                                                         Defendant’s Attorney :Richard Weese


THE DEFENDANT:
[x]       pleaded guilty to count(s): 1 of the Information .
[]        pleaded nolo contendere to count(s)        which was accepted by the court.
[]        was found guilty on count(s)       after a plea of not guilty.

The defendant is adjudicated guilty of these offense(s):

                                                                                                        Offense
 Title & Section                        Nature of Offense                                               Ended                  Count

 18 USC § 1832(a)(3)                    Possession of Stolen Trade Secrets                             April 2009                One

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]        The defendant has been found not guilty on count(s)        .

[]        Count(s)       (is)(are) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic circumstances.

                                                                                                     May 24, 2011
                                                                                            Date of Imposition of Judgment


                                                                                             Signature of Judicial Officer

                                                                                   Honorable D. Lowell Jensen, U. S. District Judge
                                                                                          Name & Title of Judicial Officer

                                                                                                      June 2, 2011
                                                                                                         Date
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DEFENDANT:                    BRIAN MURPHY                                                                  Judgment - Page 2 of 6
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                                                                  PROBATION

          The defendant is hereby sentenced to probation for a term of 3 years .

         The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled
substance. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of placement on probation and two periodic drug tests thereafter.

[x]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check if applicable.)
[x]       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if
          applicable.)
[x]       The defendant shall cooperate in the collection of DNA as direct as directed by the probation officer. (Check if applicable.)
[]        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
          is a student, as direct by the probation officer. (Check if applicable.)
[]        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well with any additional
conditions in this judgment.

          Any appearance bond filed on behalf of the defendant is hereby exonerated.

                                                       STANDARD CONDITIONS

1)    The defendant shall not leave the judicial district without permission of the court or probation officer;
2)    The defendant shall report to the probation officer, and shall submit a truthful and complete written report within the first five
      days of each month;
3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    The defendant shall support his or her dependants and meet other family responsibilities;
5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
      other acceptable reasons;
6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony, unless granted permission to do so by the probation officer;
10)   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer;
11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the Court; and
13)   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant’s compliance with such notification requirement.
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DEFENDANT:                    BRIAN MURPHY                                                         Judgment - Page 3 of 6
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                                            SPECIAL CONDITIONS OF PROBATION


1)
The defendant shall pay any restitution and special assessment that is imposed by this judgment, and that
remains unpaid at the commencement of the term of Probation.

2) The defendant shall provide the probation officer access to any requested financial information, including
   tax returns, and shall authorize the probation office to conduct credit checks and obtain copies of income
   tax returns.

3) The defendant shall consent to be monitored for a period of 6 months by the form of location monitoring indicated
below and shall abide by all of the requirements established by the probation office related to the use of this location
monitoring technology. The participant shall pay all or part of the cost of participation in the location monitoring
program, based on their ability to pay as directed by the probation officer.

•          Location monitoring technology at the discretion of the probation officer.

4) The defendant is restricted to his residence at all times during location monitoring , as directed by the
probation officer.

5) The defendant shall submit his person, residence, office, vehicle, or any property under his control to a
search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
release. Failure to submit to such a search may be grounds for revocation; the defendant shall warn any
residents that the premises may be subject to searches.

6) The Court orders restitution in the amount of $40,000.00 to KLA-Tencor Corporation, which is due immediately.
Any unpaid amount of restitution is to be directed by the probation officer, as a condition of Probation and the
defendant is to make payments of $250.00 per month toward restitution.

7) The defendant shall cooperate in the collection of DNA as directed by the probation officer.


8) The defendant shall not own or possess any firearms, ammunition, destructive devices, or other
dangerous weapons.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                       BRIAN MURPHY                                                                                   Judgment - Page 4 of 6
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                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                        Assessment                 Fine               Restitution

      Totals:                                               $ 100.00                                $                        $ 40,000.00


[ ] The determination of restitution is deferred until                           . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

[x] The defendant shall make restitution (including community restitution) to the following payees in the
amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.


 Name of Payee                                                      Total Loss*               Restitution Ordered               Priority or Percentage
 KLA-Tencor; Attn: Mr. Vince Staub, 1                                                                40,000.00
 Technology Dr., Milpitas, CA 95035

                     Totals:                            $                                     $ 40,000.00



[ ] Restitution amount ordered pursuant to plea agreement $

[ ] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine
    is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All
    of the payment options on Sheet 6, may be subject to penalties for delinquency and default, pursuant to 18
    U.S.C. § 3612(g).

[ ] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      [ ] the interest requirement is waived for the                           [ ] fine       [ ] restitution.

      [ ] the interest requirement for the                      [ ] fine          [ ] restitution is modified as follows:




 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        BRIAN MURPHY                                                                                        Judgment - Page 5 of 6
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                                                       SCHEDULE OF PAYMENTS
   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as
follows:

A     [ ] Lump sum payment of $ due immediately, balance due

      []      not later than              , or

      [ ] in accordance with ( ) C, ( ) D, ( ) E or ( ) F below; or

B     [ ] Payment to begin immediately (may be combined with ( ) C, ( ) D, or ( ) F below); or

C     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of                                                          (e.g., months
          or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g., months
          or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision;
          or

E     [ ] Payment during the term of supervised release will commence within (e,g, 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability
          to pay at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:


G. [ ] In Custody special instructions:

            While incarcerated, payment of criminal monetary penalties is due during imprisonment at the rate of not
            less than $25.00 per quarter and payment shall be through the Bureau of Prisons Inmate Financial
            Responsibility Program. Criminal monetary payments shall be made to the Clerk of U.S. District Court,
            450 Golden Gate Ave., Box 36060, San Francisco, CA 94102

H. [x] Out of Custody special instructions:
       It is further ordered that the defendant shall pay to the United States a special assessment of $100.00 and
       restitution in the amount of $40,000.00 which shall be due immediately. Restitution payments shall be
       made to the Clerk of U.S. District Court, Attention: Financial Unit, 450 Golden Gate Ave., Box 36060, San
       Francisco, CA 94102 at a rate of $250.00 per month.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev. 12/03) - Judgment in a Criminal Case - sheet 6 - Schedule of Payments

DEFENDANT:                        BRIAN MURPHY                                                                                        Judgment - Page 6 of 6
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The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

       []           Joint and Several

         Defendant and co-                Case Numbers                     Total Amount                     Joint and Several                Corresponding
         defendant Names                  (including                                                        Amount                           Payee (if
                                          defendant number)                                                                                  appropriate)




       []           The defendant shall pay the cost of prosecution.

       []           The defendant shall pay the following court cost(s):

       []           The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest, (6) community
restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
